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		OSCN Found Document:FOURTH EMERGENCY JOINT ORDER REGARDING THE COVID-19 STATE OF DISASTER

					

				
  



				
					
					
						
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				FOURTH EMERGENCY JOINT ORDER REGARDING THE COVID-19 STATE OF DISASTER2020 OK 96Decided: 11/23/2020IN THE SUPREME COURT OF THE STATE OF OKLAHOMAANDIN THE OKLAHOMA COURT OF CRIMINAL APPEALS
Cite as: 2020 OK 96, __ P.3d __

				

FOURTH EMERGENCY JOINT ORDER REGARDING 
THE COVID-19 STATE OF DISASTER



1. Governor J. Kevin Stitt issued The Seventh Amended Executive Order 2020-20 on November 16, 2020 extending the health emergency in all 77 Oklahoma Counties caused by the impending threat of COVID-19 to the people of the state. This order is issued to clarify the procedures to be followed in all Oklahoma district courts and to avoid unnecessary health risks to judges, court clerks, court employees and the public.

2. This order supplements the First, Second, and Third Joint Emergency Orders (SCAD Nos. 2020-24, 2020-29 &amp; 2020-36) from the Supreme Court and the Court of Criminal Appeals. Certain provisions in the prior three (3) orders concluded based on their own terms. Nothing in this Order extends any provision that has concluded.

3. Judges of the District Courts are authorized to take any and all necessary steps to protect the health and safety of all participants in any court proceeding. Decisions should be made on a courthouse by courthouse basis. Decisions should be based upon the number of judges, clerks, and courthouse personnel who are currently under treatment and/or in quarantine due to COVID-19. Other relevant factors to consider include but are not limited to hospitalizations, the community rate of COVID-19 infections and any other directives from the Oklahoma Department of Health and regional and county health departments.

4. Local county officials will continue to guide the extent to which county buildings are closed or have restricted access to the public. All areas of a county facility occupied by judges, judicial staff, court clerks and staff may remain closed to the public with exceptions for necessary and emergency matters and as permitted by local order.

5. Orders and Notices should be made available to the public, which may include restrictions on access to courtrooms, judges' offices, the court clerk's office and any other areas of the courthouse designated for the use of court functions. Conditions required by the public in order to permit entrance may include the requirement that all persons wear two-ply masks. The taking of temperatures may be required. People who are ill should be restricted from entering courtroom or other areas designated for use by the court. Social distancing should be practiced and crowded hallways should be avoided. All persons should be reminded to wash their hands. To that end, county facilities are responsible for providing soap and water.

6. The decision to schedule or proceed or continue or reschedule any jury term, Civil or Criminal jury trial, non-jury trial or any other proceeding rests solely with the judges of the District Court.

7. In the event that there is an objection to the continuance of any civil or criminal jury trial, non-jury trial or other proceeding, the assigned judge shall make a full record including reference to all Joint Emergency Orders, any local directives, and any other facts and circumstances necessary for later appellate review.

8. Judges and other courthouse personnel shall continue to use all available means to ensure the health of all participants in any court proceeding. Judges are encouraged to continue to use remote participation to the extent possible by use of telephone conferencing and video conferencing pursuant to Rule 34 of the Rules for District Courts. The use of TEAMS is recommended. BlueJeans.com may be used with approval of the Chief Justice. Zoom remains blocked on all equipment provided by the AOC/MIS. Judges are encouraged to develop methods to give reasonable notice and access to the participants and the public.

9. To the extent that in person dockets are held, judges may restrict the number of persons who are permitted to enter the courtroom or other areas designated for use by the court, including courtrooms, offices of the judges and court clerks and areas adjacent thereto.

10. Court clerks and judges may continue to use mail, email, and drop off boxes for acceptance of written materials and correspondence with parties/counsel.

11. All rules and procedures, and all deadlines whether prescribed by statute, rule or order in any civil, juvenile or criminal case, are in force and effect, including all appellate rules and procedures for the Supreme Court, the Court of Criminal Appeals, and the Court of Civil Appeals.

12. All appellate filings shall continue to be made by mail, third party commercial carrier or in person delivery to a specified area at the Oklahoma Judicial Center, subject to the conditions set forth in notices posted on OSCN.

13. It is anticipated that additional orders may be entered as deemed necessary.

IT IS SO ORDERED.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 23rd DAY OF NOVEMBER, 2020.


/S/NOMA D. GURICH, CHIEF JUSTICE
Supreme Court of Oklahoma


Gurich, C.J., Kauger, Winchester, Edmondson, Combs, Kane and Rowe, JJ., concur;


Darby, V.C.J. and Colbert, J., dissent;



Colbert, J., with whom Darby, V.C.J., joins, dissenting



Pursuant to article 7, section 6, of the Oklahoma Constitution, the original jurisdiction of the Supreme Court shall extend to a general superintending and control over all inferior courts and all Agencies, Commissions and Boards created by law. Thereby having superintending control of all courts throughout the State, we have the duty and responsibility to ensure consistent policies are executed by all courts rather than leaving these decisions to the discretion of individual judges of the district courts throughout the State of Oklahoma. To do otherwise is to negate our role as required by the Constitution. To protect the health and safety of individuals utilizing the court facilities, I would issue an order closing all the courts until further notice of the Supreme Court. 




WITNESS OUR HANDS AND THE SEAL OF THIS COURT THIS 23RD DAY OF NOVEMBER, 2020.


/S/DAVID B. LEWIS, PRESIDING JUDGE
Oklahoma Court of Criminal Appeals







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